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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

ROTHSCHILD BROADCAST                §
DISTRIBUTION SYSTEMS, LLC           §
                                    §
      Plaintiff,                    §                Case No: 2:16-cv-1261-RWS
                                    §
vs.                                 §
                                    §                LEAD & CONSOLIDATED CASE
BEACHBODY, LLC                      §
                                    §
      Defendant.                    §
___________________________________
    .                               §

                        ORDER OF DISMISSAL WITH PREJUDICE

       On this date, the Court considered Plaintiff Rothschild Broadcast Distribution Systems,

LLC’s motion to dismiss with prejudice Defendant Beachbody, LLC pursuant to Fed. R. Civ.

P. 41(a).

       Therefore, IT IS ORDERED that Plaintiff’s claims against Defendant are dismissed with

prejudice and with each party to bear its own attorneys’ fees and costs.

SO ORDERED.
       SIGNED this 6th day of March, 2017.



                                                         ____________________________________
                                                         ROBERT W. SCHROEDER III
                                                         UNITED STATES DISTRICT JUDGE
